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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §          CRIMINAL NO.
VS.                                               §          3:20-CR-621-K (01)
                                                  §
SHERMAN ROBERTS,                                  §
                                                  §
              Defendant.                          §



                   ORDER ON MOTION FOR CONTINUANCE

            Before the Court is Defendant’s Agreed Motion to Continue Trial, filed on

October 10, 2021.       The Court finds that the ends justice served by granting the

continuance outweigh the best interests of the public and the defendant in a speedy

trial, and that failure to grant such a continuance might result in a miscarriage of justice.

Specifically, the court finds that the granting of the motion would promote judicial

economy, and that neither the defendant nor the government would be harmed by the

granting of a continuance. The court finds that the provisions of 18 U.S.C. §

3161(h)(7)(A) and (B)(iv) are satisfied and accordingly, the motion is GRANTED

            It is therefore ordered that the trial of the case is reset from November 8,

2021 to Monday, October 17. 2022 @ 9:00 a.m.                 The period of delay shall be

excluded in computing the time within which the trial must commence.

            Pretrial motions, if any, must be filed by September 9, 2022, and responses

thereto, by September 16, 2022.



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          Requested voir dire questions, proposed jury instructions, witness lists (with

witnesses designated as "custodial", "expert", or "fact", as well as "probable" or

"possible"), exhibit lists (with copies of exhibits furnished to the Court), and motions

in limine must be filed no later than September 26, 2022.

    SO ORDERED.

    Signed October 17th, 2021.




                                     ____________________________________________
                                     ED KINKEADE
                                     UNITED STATES DISTRICT JUDGE




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